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From: Madsen, Greg
Sent: Thu, 24 Sep 2015 17:11:48 -0400 (EDT)
To: May, David[dmay@amerisourcebergen.com]; Cherveny, Eric

[ECherveny@amerisourcebergen.com]; Taraschi, Anthony
[A Taraschi@amerisourcebergen.com]; Hamilton, Greg
[GHamilton@amerisourcebergen.com]

Subject: Columbus DC DEA Audit- OMP Meeting Prep
Location: Conference Call: 800/315-5963 Pass code 65652903
Start Time: Fn, 25 Sep 2015 14:30:00 -0400 (EDT)

End Time: Fri, 25 Sep 2015 15:00:00 -0400 (EDT)

 

Having a quick call to discuss the DEA request for customer files and OMP information and to schedule the
meeting with DEA for next week.

Thanks. Greg

Begin forwarded message:

From: "Freese, Jesse L." <Jesse.L.Freese@usdoj.gov>

Date: September 24, 2015 at 12:00:16 PM EDT

To: "Hamilton, Greg" <GHamilton@amerisourcebergen.com>
Subject: RE: Columbus DEA Audit, Sep15 - Top 10 Complete.xisx

Good morning Greg,

Would it be possible to schedule that teleconference with your Corporate Compliance folks for next Tuesday (Sept

th
29 )? | wish to discuss your suspicious ordering monitoring program and due diligence with them.
Can | also get the due diligence files for the following ABC customers?

e Pharmacy Associates, 1308 4th Ave, Huntington, WV 25701-DEA #BP0795433

e Nicholas Pharmacy, 421 Main Street, Summersville, WV 26651-DEA #BN9557298

e Moundsville Pharmacy, 118 North Lafayette Ave, Moundsville, WV 26041- DEA #AM9597800
e Continuumcare Pharmacy, 78 Perry Winkle Lane, Huntington, WV 25702-DEA #FC1712668

e McCloud Family Pharmacy, 4541 5 Street Road, Huntington, WV 25701, DEA #BM9558733
e Walgreens, 6414 Route 60, Barboursville, WV 25504, DEA #FW1925568

e Drug Emporium, 3 Mall Road, Barboursville, WV 25504, DEA #BD0427927

e Church Square Pharmacy, 7905 Euclid Ave, Cleveland, OH 44103-DEA #FC0792704

e BSD Inc, 716 Madison Avenue, Covington, KY 41011, DEA #AS1185900

| will likely have more requests later, but | wanted to have a few files to discuss during our teleconference.

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AM-WV-00121.00001
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Thank you,

Jesse Freese

Diversion Investigator

Drug Enforcement Administration
Columbus, OH District Office
Office: 614-255-4169

Fax: 614-469-5788

 

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AM-WV-00121.00002
